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Eugene F. Pigott, Jr.

Senior Associate Judge of the Court of Appeals, was born in Rochester, New York, in
September 1946.

He graduated from LeMoyne College (B.A.1968). Judge Pigott served on active duty in
the United States Army from 1968 to 1970. While in the service, he was stationed in
the Republic of Vietnam, serving as a Vietnamese interpreter. He graduated from
SUNY at Buffalo School of Law (J.D. 1973) and was admitted to the Bar of the State of
New York in 1974. Judge Pigott practiced law in Buffalo, New York, with the firm of
Offermann, Fallon, Mahoney & Adner from 1974 to 1982. In 1982 he was appointed
Erie County Attorney and served in that position until 1986. In 1986 he became chief
trial counsel for the firm of Offermann, Cassano, Pigott & Greco. On February 4,
1997, he was appointed to the New York State Supreme Court by Governor George E.
Pataki and thereafter was elected to a full 14-year term. In 1998 he was designated to
the Appellate Division, Fourth Department and was appointed Presiding Justice on
February 16, 2000. On August 18, 2006, he was nominated by Governor Pataki to the
Court of Appeals. His nomination was confirmed by the New York State Senate on
September 15, 2006. He and his wife Peggy live on Grand Island, New York. They have
two children.


  Role           Employer                                  Location

  Attorney       Offermann, Fallon, Mahoney & Adner        Erie County, New York


   County        Office of the County Attorney             Erie County, New York
  Attorney

 Chief Trial     Offermann, Cassano, Pigott & Greco        Erie County, New York
  Counsel

  Justice        Erie County Supreme Court                 Erie County, New York


  Justice        Supreme Court of the State of New York,   Monroe County, New York
                 Appellate Division, Fourth Judicial
                 Department
  Associate      New York State Court of                   Albany County, New York
  Judge          Appeals


  Justice        Erie County Supreme Court                 Erie County, New York




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